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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF OKLAHOMA

(1) PATRICIA THOMPSON, as Personal                 )
Representative of the Estate of                    )
MARCONIA LYNN KESSEE,                              )
                                                   )
                     Plaintiff,                    )
vs.                                                )       Case No. CIV-19-113-SLP
                                                   )
(1) NORMAN REGIONAL HOSPITAL                       )      JURY TRIAL DEMANDED
AUTHORITY d/b/a NORMAN REGIONAL                    )
HOSPITAL, a public trust, et al.,                  )
                                                   )
                     Defendants.                   )

                     DEFENDANTS’ NOTICE TO TAKE VIDEO
                    DEPOSITION OF MICHAEL WASHINGTON

       You are hereby notified that on the 10th day of December, 2020 at 10:00 a.m., the

Defendants will take the deposition of Michael Washington at Instascript via Zoom video

conferencing (or similar video conferencing platform). The Court Reporter and Defendants

will be located in Oklahoma City at Instascript, located at 125 Park Avenue, LL, Oklahoma

City, OK 73102. Plaintiff’s counsel and Defense Counsel are invited to appear at this

location or to separately appear through the video link that will be circulated to all counsel.

The deposition will be taken upon oral examination and by video conference, and it may

be recorded by video, before a qualified court reporter and will continue from day to day

until completed.


                                           Respectfully submitted,

                                           s/ Ambre C. Gooch
                                           Ambre C. Gooch, OBA No. 16586
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                            CERTIFICATE OF SERVICE

       I hereby certify that on November 16, 2020, I electronically transmitted this filing
to the Clerk of Court using the ECF System for filing and transmittal of a Notice of
Electronic Filing to the following ECF registrant:

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                                 s/ Ambre C. Gooch
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